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 NOT FOR PUBLICATION                                                                     CLOSED

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                       :
 BERNARD B. KERIK,                                     :
                                                       :
                 Plaintiff,                            : Civil Case No. 14-488 (FSH)
                                                       :
          v.                                           : OPINION & ORDER
                                                       :
 JOSEPH TACOPINA,                                      : Date: April 3, 2014
                                                       :
                 Defendant.                            :
                                                       :
                                                       :

 HOCHBERG, District Judge:

          This matter comes before the Court upon Defendant Joseph Tacopina’s 1 (“Defendant” or

 “Tacopina”) motion to dismiss for improper venue under Federal Rule of Civil Procedure

 12(b)(3). (Dkt. No. 7.) In the alternative, Defendant requests transfer to the United States

 District Court for the Southern District of New York pursuant to 28 U.S.C. § 1404(a). (Dkt. No.

 7.) The Court has reviewed the submissions of the parties and considers the motion pursuant to

 Federal Rule of Civil Procedure 78.

     I.   BACKGROUND 2

          According to Plaintiff’s complaint, this is an action for legal malpractice against

 Tacopina for false and misleading representations regarding a plea agreement, among other

 1
   Plaintiff Bernard B. Kerik (“Plaintiff” or “Kerik”) initially sued Michael S. Ross in addition to
 Tacopina. (See Dkt. No. 1.) Ross, an ethics attorney, allegedly counseled Tacopina during the
 relevant time period. But on March 19, 2014, Kerik dismissed Ross from this matter. (Dkt. No.
 15.)
 2
   On a motion to dismiss for improper venue, “[w]e accept as true all of the allegations in the
 complaint, unless those allegations are contradicted by the defendants’ affidavits.” Bockman v.
 First Am. Mktg. Corp., 459 F. App’x 157, 158 n.1 (3d Cir. 2012).
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 things, that resulted in substantial harm to Plaintiff. (Dkt. No. 1, Introduction.) This Court has

 jurisdiction because the parties are diverse and the amount in controversy exceeds $75,000.00.

         Defendant Tacopina is an attorney admitted to practice in New York and maintains an

 office in New York City. (Dkt. No. 1, ¶ 3.) Plaintiff Kerik is the former New York City Police

 Commissioner. (Id. ¶ 5.) Kerik first met Tacopina in 2002 and maintained a close personal

 relationship with him for several years. (Id.) On December 3, 2004, President George W. Bush

 nominated Kerik as Secretary of the U.S. Department of Homeland Security. (Id. ¶ 6.) On

 December 10, 2004, Kerik withdrew his name from consideration for that position, which

 sparked inquiries by the media. (Id. ¶ 7.) Around that time, Tacopina began representing Kerik.

 (Id. ¶ 8.)

         Soon thereafter, Tacopina informed Kerik that Walter Arsenault, the First Deputy

 Commissioner of the New York City Department of Investigation (“DOI”) contacted him about

 an investigation regarding Kerik’s conduct when he was the Commissioner of the Department of

 Corrections between 1998 and 2001.         (Id. ¶ 9.)   Kerik alleges that Tacopina met with

 representatives of the DOI and the Bronx County District Attorney’s Office to discuss

 allegations related to apartment renovations that Kerik had paid for on an apartment in the

 Bronx. 3 (Id. ¶ 10.) This investigation ran from approximately 2005 to 2006. (Id. ¶ 16.) Kerik

 was also being investigated for allegedly having corruptly intervened in a 1999 investigation—

 conducted by a city agency—into Interstate Industrial Corporation (“Interstate”). (Id. ¶ 14.) At

 that time, Interstate employed Kerik’s brother and Larry Ray, one of Kerik’s friends. (Id.)

         On March 4, 2006, Tacopina sent Kerik a copy of a report prepared by the New Jersey

 Attorney General in charge of the Gaming Commission and requested that Kerik respond to the

 3
  These renovations were completed by Tim Woods, a contractor recommended by one of
 Kerik’s friends, Frank DiTommaso. (Id. ¶ 12.)
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 statements therein. (Id. ¶ 21.) The next day, Kerik sent Tacopina his answers to the report,

 which consisted of information relating to the payment of renovations in his Bronx apartment.

 (Id. ¶ 22.) On June 20, 2006, Tacopina sent Kerik an email indicating that the DOI investigation

 would be closed on favorable terms. (Id. ¶ 23.) On June 30, 2006, on the advice and allegedly

 false representations of Tacopina, Kerik entered into a negotiated plea allocution/agreement with

 the Bronx District Attorney’s Office and pled guilty to two ethics violations.       (Id. ¶ 26.)

 According to the complaint, Tacopina “masterminded” the plea agreement and “sold Mr. Kerik

 down the river.” (Id. ¶¶ 27, 63.) Kerik alleges that, prior to accepting the terms of the plea

 agreement, Tacopina visited Kerik’s home in New Jersey and told Kerik and his wife that

 accepting the plea would end any and all investigations against him. (Id. ¶ 28.) In addition,

 Kerik alleges that Tacopina represented that there would be no tax liabilities as a result of his

 plea. (Id.; see also id. ¶ 64.)

         In July 2006, the U.S. Attorney’s Office in the Southern District of New York initiated a

 federal grand jury investigation of Kerik. (Id. ¶ 30.) Federal prosecutors subpoenaed Tacopina

 in March 2007, and Tacopina ceased representing Kerik due to an alleged conflict. (Id. ¶ 31-32.)

 This left Kerik represented by Ken Breen, another attorney that had been Kerik’s lawyer since at

 least 2006. (Id.)

         Around September 2007, Tacopina asked Kerik for help in locating an investor for a real

 estate venture connected to Raffaello Follieri, a friend and New York client of Tacopina. (Id. ¶¶

 34-35.) Tacopina represented that he would split a $1.5 million finder’s fee with Kerik if he

 assisted in the deal. (Id. ¶¶ 34-35.) Kerik alleges that he introduced Tacopina and Follieri to a

 Connecticut hedge fund, Plainfield Assets, which eventually agreed to fund the venture for

 Follieri. (Id. ¶ 36-38.) Tacopina allegedly confirmed the finder’s fee in November 2007 while



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 meeting Kerik in Queens. (Id. ¶ 40.) At that same meeting, Tacopina informed Kerik that

 Assistant U.S. Attorneys were in the process of destroying his law practice and that he thought

 he was going to lose his law practice. (Id. ¶ 39.)

        On November 8, 2007, Kerik was indicted by a New York federal grand jury on a 16-

 count indictment. (Id. ¶ 41.) On November 15, 2007, Breen, Kerik’s then attorney, was

 provided a witness list by federal prosecutors where Tacopina was listed as a prosecution

 witness. (Id. ¶ 42.) Breen then contacted Tacopina and instructed him not to speak with Kerik.

 (Id. ¶ 43.) On November 30, Kerik learned that the finder’s fee related to the Follieri deal was

 actually $2.5 million rather than the $1.5 million represented by Tacopina and was signed on

 October 5, 2007. (Id. ¶¶ 44-46.) On December 9, 2007, Tacopina allegedly called Kerik at his

 home in New Jersey and made several representations about the finder’s fee. (Id. ¶¶ 47-48.)

        Kerik also alleges that Tacopina met with federal prosecutors and divulged privileged

 information related to the Bronx case without the consent of Kerik. (Id. ¶¶ 51-52, 55.) Kerik

 alleges that, as a result, Kerik was not able to attempt to prevent the release of Tacopina’s

 statements to federal prosecutors. (Id. ¶ 56-58.) Kerik alleges that Tacopina’s actions were not

 negligent but, rather, intentional acts designed to destroy or limit Kerik’s ability to defend

 himself against the federal charges. (Id. ¶ 60, 65.)

        On January 23, 2008, Breen was disqualified as counsel for Kerik, allegedly based on

 statements made by Tacopina. (Id. ¶ 61, 65.) Kerik was required to find new counsel, which

 placed him in a financial crisis. (Id. ¶ 62.) Kerik alleges that Tacopina made these statements

 knowing that they would cause harm to him. (Id. ¶ 65.)

        Kerik alleges that these actions were substantial factors in causing him damages,

 including—inter alia—the loss of liberty, loss of employment, attorney fees, criminal charges,



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 economic damages, his ability to mount a defense, and taxes. (Id. ¶¶ 66-67.) Kerik alleges that

 but for Tacopina’s actions he would have avoided criminal charges, incarceration, and his

 various damages. (Id. ¶ 67.)

           Kerik brings several causes of action, including negligence, legal malpractice, breach of

 fiduciary duty, negligent misrepresentation, fraudulent disclosure (concealment, destruction and

 spoliation of evidence, civil conspiracy, and aiding and abetting breach of fiduciary duty), 4

 breach of contract, intentional misrepresentation, fraud in the inducement, and intentional

 interference with business relationship/contract. (See generally Complaint (Dkt. No. 1).)

     II.   LEGAL STANDARD

           “[O]n a motion for dismissal for improper venue under Rule 12 the movant has the

 burden of proving the affirmative defense asserted by it.” Myers v. Am. Dental Ass’n, 695 F.2d

 716, 724 (3d Cir. 1982). Under 28 U.S.C. § 1391(b), venue is proper in:

                  (1) a judicial district in which any defendant resides, if all
                  defendants are residents of the State in which the district is located;
                  (2) a judicial district in which a substantial part of the events or
                  omissions giving rise to the claim occurred, or a substantial part of
                  property that is the subject of the action is situated; or (3) if there is
                  no district in which an action may otherwise be brought as
                  provided in this section, any judicial district in which any
                  defendant is subject to the court’s personal jurisdiction with
                  respect to such action.

 28 U.S.C. § 1391(b). Under 28 U.S.C. § 1406(a), if venue is not proper, the Court may transfer a

 case to “any district . . . in which it could have been brought” “if it be in the interest of justice.”

 28 U.S.C. § 1406(a).




 4
   This claim appears to be based on Tacopina’s alleged meetings with former Defendant Ross
 between 2006 and 2009. (Id. ¶¶ 84-99.) The gravamen of this claim is that Ross or Tacopina
 should have informed Kerik before allegedly giving privileged information to the U.S.
 Attorney’s Office.
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        Similarly, 28 U.S.C. § 1404(a) provides that “for the convenience of parties and

 witnesses, in the interest of justice, a district court may transfer any civil action to any other

 district or division where it might have been brought.” The purpose of § 1404(a) is to “prevent

 the waste of time, energy and money and to protect litigants, witnesses and the public against

 unnecessary inconvenience and expense.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964)

 (internal quotations and citations omitted). A decision to transfer an action under this provision

 rests within the sound discretion of the District Court. Stewart Org., Inc. v. Ricoh Corp., 487

 U.S. 22, 29 (1988).

        On a motion to transfer pursuant to § 1404(a), the District Court must undertake a

 “flexible and individualized analysis,” balancing the factors set forth in the statute as well as a

 number of other case specific factors. Courts in the Third Circuit apply the public and private

 interest factors outlined in Jumara v. State Farm Ins. Co., 55 F.3d 873, 879-80 (3d Cir. 1995).

 The private factors are: (1) the plaintiff’s choice of forum; (2) the defendant’s preference; (3)

 where the claim arose; (4) the convenience of the witnesses, but only to the extent they may be

 unavailable in one of the fora; (5) the convenience of parties; (6) the location of books and

 records; and the public factors are: (7) the enforceability of any judgment; (8) any practical

 considerations making trial easy, expeditious or inexpensive; (9) relative administrative

 difficulty resulting from court congestion; (10) the local interest in deciding local controversies

 at home; (11) the public policies of the fora; and (12) the trial judge’s familiarity with applicable

 state law. Id. The analysis, however, should not be limited to these factors, and factors may

 have different relevance in particular cases. See Van Cauwenberghe v. Biard, 486 U.S. 517,

 528-529 (1988). A court’s decision to transfer should consider “all relevant factors to determine




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 whether on balance the litigation would more conveniently proceed and the interests of justice be

 better served by transfer to a different forum.” Jumara, 55 F.3d at 879.

           A plaintiff’s choice of venue is not to be “lightly disturbed,” and the moving party has the

 burden of establishing that the proposed transferee forum is proper and that a balancing of the

 relevant considerations weighs in favor of transfer. Id.

 III.      DISCUSSION

              a. Venue Analysis

           Tacopina moves to dismiss this matter for improper venue under Rule 12(b)(3) or, in the

 alternative, asks that the case be transferred to the Southern District of New York in the interest

 of justice. Specifically, Tacopina argues that Kerik only alleges a single physical contact with

 New Jersey (i.e., that Tacopina allegedly visited Kerik at his home in New Jersey to convince

 him to accept a plea deal with the Bronx District Attorney’s Office) 5 and a handful of emails and

 telephone calls directed at Kerik in New Jersey. Tacopina argues that this is not enough to

 establish venue under § 1391(b) because they do not amount to “a substantial part of the events

 or omissions giving rise to the claim.” In contrast, Tacopina argues that the balance of Kerik’s

 allegations arise from events that occurred within the Southern District of New York.

           There is no dispute that §§ 1391(b)(1) and 1391(b)(3) do not apply in this case. Instead,

 Kerik argues that venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial portion of

 the events underlying his claims occurred in New Jersey. In support of this proposition, Kerik

 relies on three allegations: 6 (i) that Tacopina’s visit to New Jersey and his representations at that

 time were the catalysts that led to the various federal charges against him and his subsequent

 5
     Tacopina contends that this visit never occurred. (Dkt. No. 7-3, ¶ 7.)
 6
   Several of these allegations are not present in Kerik’s complaint and only come from an
 affidavit submitted in opposition to Tacopina’s motion. (See Dkt. No. 17-1.)
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 misfortunes; 7 (ii) that Tacopina directed numerous calls and emails to Kerik regarding the

 Follieri deal and the Bronx plea agreement, some of which are alleged to have been received by

 Kerik while in New Jersey; and (iii) that Kerik experienced harm from Tacopina’s actions in

 New Jersey.

         Here, the District of New Jersey is not the proper venue because a “substantial part” of

 the events and omissions giving rise to Kerik’s claims did not occur in New Jersey, and any stray

 occurrences in New Jersey do not approach the threshold of substantiality. “The test for

 determining venue is not the defendant’s ‘contacts’ with a particular district, but rather the

 location of those ‘events or omissions giving rise to the claim.’” Cottman Transmission Systems,

 Inc. v. Martino, 36 F.3d 291, 294 (3d Cir. 1994); accord Bookman v. First Am. Mktg. Corp., 459

 F. App’x 157, 161 (3d Cir.2012); Eviner v. Eng, Civ. No. 12-2245, 2013 WL 6450284, at *3

 (D.N.J. Dec. 6, 2013). Events or omissions that have only “some tangential connection” with the

 dispute are not sufficient to support venue under this subsection. Cottman Transmission Sys., 36

 F.3d at 294.

        It is clear from Kerik’s Complaint that the vast majority of the events underlying Kerik’s

 causes of action occurred in New York. For example, Kerik alleges, inter alia, that Tacopina

 was negligent, committed legal malpractice, breached his fiduciary duty, and fraudulently

 disclosed various materials to federal prosecutors. But Tacopina provided Kerik with legal

 services in New York related to a criminal proceeding based in the Bronx; allegedly

 communicated to or provided federal prosecutors with privileged information in New York; and

 allegedly misrepresented real estate dealings from New York. Indeed, almost every fact in the

 Complaint focuses on New York rather than New Jersey.
 7
  Kerik also alleges that Tacopina visited him a second time in New Jersey in February 2007.
 But Kerik does not provide any connection between this alleged meeting and any of his claims.
 Therefore, the Court does not consider this contact in the venue analysis.
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        Nor does Tacopina’s single visit to Kerik in New Jersey support the theory that “a

 substantial part of the events or omissions giving rise to the claim occurred” in New Jersey.

 While Tacopina’s visit surely contributes to the underlying facts supporting Kerik’s allegations

 of “incorrect legal advice” related to the plea deal (Dkt. No. 17 at 8), the vast majority of the

 events supporting Kerik’s causes of action occurred in New York. For example, Tacopina’s

 work occurred in New York, related to events that occurred in the Bronx, and were being

 investigated by the Bronx County District Attorney’s Office. Tacopina is also alleged to have

 reassured Kerik and encouraged him to take the plea while in New York. Indeed, Kerik accepted

 the plea deal and plead guilty in New York state court. Moreover, Tacopina’s single visit to

 New Jersey has nothing to do with Kerik’s many other allegations, including Tacopina’s

 communications with federal prosecutors in New York, Tacopina’s dealings with Ross, or

 Tacopina’s representations about the Follieri deal. In short, Tacopina’s alleged single visit to

 New Jersey does not rise to the level of a “substantial part” of the events giving rise to Kerik’s

 claims when considered in the context of this dispute.

        Similarly, Tacopina’s calls and emails, as well as where Kerik experienced harm, fail to

 support venue in this district. “When examining claims for misrepresentation on a motion to

 transfer venue, ‘misrepresentations and omissions are deemed to occur in the district where they

 were transmitted or withheld, not where they are received.’” 8 Metro. Life Ins. Co. v. Bank One,

 N.A., Civ. No. 03-1882, 2012 WL 4464026, at *6 (D.N.J. Sept. 25, 2012) (citing Branthover v.

 Goldenson, Civ. No. 10-7677, 2011 WL 6179552, at *3 (S.D.N.Y. Dec. 12, 2011)); see also

 8
   Similarly, “[f]or breach of contract of claims, courts considering substantial events or
 omissions take into account where the contract was negotiated, executed, performed, and
 breached.” Stalwart Capital, LLC v. Warren St. Partners, LLC, Civ. No. 11-5249, 2012 WL
 1533637, at *4 (D.N.J. Apr. 30, 2012). “[B]ut electronic and telephonic negotiations between
 two districts do not necessarily create a substantial event.” Id.


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 Frato v. Swing Staging, Inc., Civ. No. 10-5198, 2011 WL 3625064, at *4 (D.N.J. Aug. 17, 2011)

 (rejecting argument that plaintiff’s fraud and misrepresentation claims arose in New Jersey

 because that is where he relied on Defendants’ alleged misrepresentations).                 Thus, any

 misrepresentations or omissions by Tacopina via phone or email would be deemed to occur in

 New York—the location from which the misrepresentations or omissions originated.

         Tacopina’s alleged communications are also not connected in a substantial way to

 Kerik’s other claims. For example, these communications have no nexus to Kerik’s claim that

 that Tacopina disclosed privileged information to federal prosecutors in New York, Tacopina’s

 alleged misrepresentations during meetings in New York, or Tacopina’s allegedly deficient legal

 work in New York. Other courts have found that such communications fail to justify venue.

 See, e.g., Loeb v. Bank of Am., 254 F. Supp. 2d 581, 587 (E.D. Pa. 2003) (finding

 correspondence, telephone calls, and the “impact of economic harm” to be “woefully insufficient

 to establish venue in this district”); Eviner, 2013 WL 6450284, at *3 (finding that telephone calls

 and visits did not constitute a “substantial part” of plaintiff’s claims when claims rested on

 alleged omissions).

         The allegations, considered as a whole, establish that the essential conduct underlying

 Kerik’s claims occurred in New York, not New Jersey. 9 Venue is not proper in this district.

             b. Transfer

         Having found that venue is not proper in the District of New Jersey, the Court next

 considers whether to transfer the case or dismiss it. After careful consideration, the Court finds

 that it is in the interest of justice to transfer this case to the Southern District of New York.
 9
   The fact that Defendant Ross, now dismissed from this action, had no contacts whatsoever with
 New Jersey further confirms that venue is not proper here. It is of no moment that Ross is no
 longer part of this matter for purposes of analyzing venue. See Exxon Corp. v. F.T.C., 588 F.2d
 895, 899 (3d Cir. 1978) (“[V]enue is determined at the outset of the litigation and is not affected
 by a subsequent change in parties.”).
                                                   10
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         As noted above, 28 U.S.C. § 1406(a) allows the Court to transfer a case to “any district . .

 . in which it could have been brought” if venue is not proper and transfer is “in the interest of

 justice.” 28 U.S.C. § 1406(a). Tacopina asserts, and Kerik does not dispute, that venue would

 be proper in the Southern District of New York. This is confirmed by the fact that almost every

 event underlying Kerik’s claims occurred in the Southern District of New York. There is no

 doubt that at least “a substantial part” of the events underlying Kerik’s claims occurred in the

 Southern District. Here, transfer will save the time and resources of the parties, and it avoids the

 unnecessarily harsh remedy of dismissal. See NCR Credit Corp. v. Ye Seekers Horizon, Inc., 17

 F. Supp. 2d 317, 319 (D.N.J. 1998). Therefore, in the interest of justice, the Court will transfer

 this matter to the Southern District of New York.

         Even if venue were proper, the Court would transfer this matter pursuant to 28 U.S.C.

 § 1404(a). As explained below, such a transfer would be proper under an analysis of the Jumara

 factors and in the interest of justice.

                      i.         The Private Factors

         First, the Court examines Jumara’s private factors. Plaintiff clearly prefers to litigate in

 New Jersey. 10 It is also clear that Defendant prefers to litigate in New York. The third Jumara

 factor addresses where the claims arose. Here, as discussed in detail above, the claims clearly

 arose from conduct in New York. The next factors are the convenience of the parties and the

 witnesses. Based on the allegations in the Complaint, there will surely be witnesses involved in

 this matter that are in New York, but it is not clear if they would be unavailable in New Jersey.

 10
    Of course, the degree of deference afforded to a plaintiff’s choice of forum is reduced when
 the forum has little connection with the dispute. See, e.g., Gentry v. Leading Edge Recovery
 Solutions, LLC, Civ. No. 13-3398, 2014 WL 131811, at *5 (D.N.J. Jan. 10, 2014); Ramada
 Worldwide, Inc. v. Bellmark Sarasota Airport, LLC, Civ. No. 05-2309, 2006 WL 1675067, at *3
 (D.N.J. June 15, 2006).


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 The convenience of the parties is split. It would be more convenient for Tacopina to litigate in

 New York because his office is in New York, but it would be more convenient for Kerik to

 litigate in New Jersey because it is his place of residence. 11 The Court also considers the

 location of books and records. In this matter, the vast majority of books and records will be

 located in New York. The parties may need to access the records associated with Tacopina’s

 New York firm, including Kerik’s file, as well as records associated with Ross, the New York

 courts, the New York federal prosecutors, and the Bronx District Attorney’s Office.

        Here, the second, third, and sixth factors favor transfer, the first factor favors not

 transferring, and the fourth and fifth factors are neutral.

                    ii.         The Public Factors

        Next, the Court examines Jumara’s public factors. First, it does not appear that there are

 any enforceability problems with a judgment in either New York or New Jersey. The second

 factor asks the Court to consider if there are any practical considerations making trial easy,

 expeditious, or inexpensive.     In this case, the Southern District of New York already has

 familiarity with the previous charges leveled against Kerik. This familiarity with the underlying

 facts could expedite the resolution of this matter and ensures that the court with the closest

 connection to the case hears the merits. This is especially compelling when the parties may

 make arguments based on what occurred in the underlying federal prosecution. The next factor

 asks the Court to consider litigation congestion. There is not a substantial difference in court

 congestion between the Southern District of New York and the District of New Jersey.




 11
    Plaintiff argues that a transfer will interfere with his choice of attorney in this matter because
 his attorney is not admitted to practice in New York. Not so. Plaintiff’s attorney may apply to
 be admitted pro hac vice in the Southern District of New York. Defendant has also represented
 he will not oppose such an application. (Dkt. No. 19 at 14.)
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           Next the Court considers the local interests in deciding local controversies at home and

 the public policies of the fora.      These are significant factors for this case.      Based on the

 allegations, New York has a substantial interest in regulating attorneys who are admitted to

 practice within its district. See, e.g., Pittston Co. v. Sedgwick James of New York, Inc., 971 F.

 Supp. 915, 924 (D.N.J. 1997) (“[T]he state in which the broker resides and performs has the

 significantly greater interest in ensuring that the broker complies with any relevant contract and

 satisfies reasonable performance standards (i.e., does not commit professional malpractice).”).

 Similarly, it has an interest in promulgating clear rules on business related fraud and what

 disclosure restrictions govern attorneys when communicating with local and federal prosecutors.

 This matter involves New York City’s former police commissioner and a New York attorney

 and, thus, should be decided in New York.

           Finally, the Court should consider the trial judge’s familiarity with the applicable state

 law. This is not a significant factor here as judges in the District of New Jersey must frequently

 apply New York and New Jersey law. 12 Factors seven, nine, and twelve are neutral. Factors

 eight, ten, and eleven favor transfer.

           After reviewing the Jumara factors, six factors favor transfer, five factors are neutral, and

 one favors not transferring this matter. These factors strongly support transferring this matter to

 the Southern District of New York. After careful consideration, this Court finds that transfer

 would be in the interest of justice and for the convenience of the parties and witnesses.

 IV.       CONCLUSION & ORDER

           For the reasons stated above,

           IT IS on this 3rd day of April, 2014,



 12
      This Court need not and does not determine which state’s law applies to this dispute.
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        ORDERED that Defendant’s motion regarding venue (Dkt. No. 7) is GRANTED IN

 PART; and it is further

        ORDERED that this matter be TRANSFERRED to the United States District Court for

 the Southern District of New York under 28 U.S.C. § 1406(a); and it is further

        ORDERED that former Defendant Ross’s motion to dismiss (Dkt. No. 8) shall be

 ADMINISTRATIVELY TERMINATED as MOOT; and it is further

        ORDERED that the Clerk of the Court CLOSE this case.



                                                     IT IS SO ORDERED.

                                                     /s/ Faith S. Hochberg
                                                     Hon. Faith S. Hochberg, U.S.D.J.




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